Case 2:05-cr-20279-SH|\/| Document 17 Filed 09/02/05 Page 1 of 2 Page|D 23

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FOR THE WESTERN DISTRIC'I‘ OF TENNESSEE _ |*; \9
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U'NITED STATES OF AMERICA , CLE§§~L:N- TI:\:F‘\-§
VS. NO. 05-20279"Ma

RODERICK K. SMITH,

defendant.

 

ORDER GR.ANTING MOTION TO UNSEAL INDICTMENT

 

Before the court is the government’s August 22, 2005, motion
to unseal the indictment in this matter. For good cause shown,
the motion is granted. The Clerk of Court is instructed to
unseal the indictment in this case.

It is so ORDERED this 24 day of September, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
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Honorable Samuel Mays
US DISTRICT COURT

